AO 245B (Rev. 12/03) Judgment in a Criminal Case


                                     UNITED STATES DISTRICT COURT
                                               EASTERN DISTRICT OF WISCONSIN

UNITED STATES OF AMERICA                                                JUDGMENT IN A CRIMINAL CASE

                              v.                                        Case Number: 03-CR-117

LEAH JOHN                                                               USM Number: 07047-089

                                                                        John T. Wasielewski
                                                                        Defendant's Attorney

                                                                        William J. Roach
                                                                        Assistant United States Attorney

THE DEFENDANT pleaded guilty to count one of the information.


The defendant is adjudicated guilty of these offense(s):

         Title & Section                           Nature of Offense                    Offense Ended              Count


 21U.S.C. §844(a)                      Knowingly and intentionally possessed             June 5, 2003                  1
                                       marijuana.


        The defendant is sentenced as provided in Pages 2 through 4 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.


          All remaining counts are dismissed on the motion of the United States.

       IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and the United States attorney of
any material change in the defendant's economic circumstances.

                                                                        Date of Imposition of Judgment
                                                                        July 8, 2005

                                                                        s/ William C. Griesbach, U.S. District Judge
                                                                        Signature of Judicial Officer

                                                                        July 15, 2005
                                                                        Date




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                                                       IMPRISONMENT

          The defendant is hereby sentenced to time served.


9         The court makes the following recommendations to the Bureau of Prisons:

9         The defendant is remanded to the custody of the United States Marshal.
9         The defendant shall surrender to the United States Marshal for this district
          9         at ____ a.m./p.m. on ____.
          9         as notified by the United States Marshal.
          9         as notified by the Probation or Pretrial Services Office.

9         The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons,
          9         before ____ a.m./p.m. on ____.
          9         as notified by the United States Marshal.
          9         as notified by the Probation or Pretrial Services Office.


                                                            RETURN

          I have executed this judgment as follows:




        Defendant delivered on ___________________ to __________________________________________________
at _______________________________ with a certified copy of this judgment.



                                                                      UNITED STATES MARSHAL

                                                                      By:
                                                                                 Deputy United States Marshal




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                                                    CRIMINAL MONETARY PENALTIES

          The defendant must pay the total criminal monetary penalties under the Schedule of Payments on the attached page.

                                                    Assessment                     Fine                      Restitution
              Totals:                                 $25.00                        $                             $


9         The determination of restitution is deferred until ___. An Amended Judgement in a Criminal Case (AO 245C) will
          be entered after such determination.
9         The defendant must make restitution (including community restitution) to the following payees in the amount listed
          below.

        If a defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i),
all nonfederal victims must be paid before the United States is paid.

          Name of Payee                             **Total Loss            Restitution Ordered         Priority or Percentage




              Totals:                                    $                          $


9         Restitution amount ordered pursuant to plea agreement: $                   .
9         The defendant shall pay interest on any fine or restitution of more than $2,500.00, unless the fine or restitution is paid
          in full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment
          options on the Schedule of Payments may be subject to penalties for delinquency and default, pursuant to 18 U.S.C.
          § 3612(g).

9         The court determined that the defendant does not have the ability to pay interest, and it is ordered that:
          9         the interest requirement is waived for the            9 fine          9 restitution.
          9         the interest requirement for the                      9 fine          9 restitution, is modified as follows:
**        Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United
          States Code, for offenses committed on or after September 13, 1994 but before April 23, 1996.




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                                                    SCHEDULE OF PAYMENTS

        Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as
follows:

A         9         Lump sum payment of $_______ due immediately, balance due
                    9         not later than _________, or
                    9         in accordance with 9 C, 9 D, 9 E, or 9 F below; or

B         :         Payment to begin immediately (may be combined with 9 C, 9 D, 9 E, or 9 F below; or

C         9         Payment in monthly installments of $___ until paid in full, to commence 30 days after the date of this
                    judgment; or

D         9         Payment in monthly installments of $___ until paid in full, to commence 30 days after release from
                    imprisonment to a term of supervision; or

E         9         Payment during the term of supervised release will commence within 30 days after release from
                    imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay
                    at that time; or
F         9         Special instructions regarding the payment of criminal monetary penalties:


         Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes
imprisonment, payment of criminal monetary penalties is due during the period of imprisonment. All criminal monetary
penalties, except those payments made through the Bureau of Prisons' Inmate Financial Responsibility Program are made to
the clerk of court.

          The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

9         Joint and Several
          Defendant and Co-Defendant Names, Case Numbers (including defendant number), Total Amount, Joint and Several
          Amount, and corresponding payee, if appropriate:

9         The defendant shall pay the cost of prosecution

9         The defendant shall pay the following court costs

9         The defendant shall forfeit the defendant's interest in the following property to the United States:

         Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4)
fine principal, (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court
costs.



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